           Case 1:20-cv-03478-CRC Document 44 Filed 11/08/21 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 Diamond A Ranch, Western Division, LLC,
 et al,

                 Plaintiffs,

    v.                                              No.: 1:20-cv-03478-CRC

 Chad F. Wolf, et al,

                 Defendants.


                                    JOINT STATUS REPORT

         The Parties submit this Joint Status Report to update the Court on their attempts to reach

a negotiated resolution of this case in advance of today’s status conference.

         The Parties continue to believe that a settlement is the preferable outcome and a possible

one. As anticipated in the parties’ last Joint Status Report (Dkt. 43), the U.S. Army Corps of

Engineers’ contractor has engaged in direct discussions with Plaintiffs. The contractor has

entered Plaintiffs’ property and begun to remove some of the rocks blasted onto Plaintiffs’

property during construction and to repair some of Plaintiffs’ fencing. Although the Parties have

not yet engaged in serious discussions on remediation, these interim steps are signs of progress

and good faith. In light of this progress, Plaintiffs will voluntarily withdraw their November 30,

2020, Emergency Motion for Temporary Restraining Order and Preliminary Injunction (Dkt. 4).

         The underlying complaint, however, remains in place. And some issues are unresolved.

For example, Defendants have not reached a final decision on the removal of bollard wall

segments that are still standing in Guadalupe Creek. That said, the Parties are optimistic that the

guidance reaching the Defendants will permit a settlement that resolves the rest of this matter.
        Case 1:20-cv-03478-CRC Document 44 Filed 11/08/21 Page 2 of 3




      The Parties request that case remain stayed and will be happy to answer any questions

during the conference on Monday.

Dated: November 8, 2021                  Respectfully Submitted,

                                           /s/ Stewart A. Baker
                                         Stewart A. Baker (D.C. Bar No. 262071)
                                         Lia Metreveli (D.C. Bar No. 1617975)
                                         STEPTOE & JOHNSON LLP
                                         1330 Connecticut Avenue, NW
                                         Washington, DC 20036
                                         Tel: (202) 429-3000
                                         Email: sbaker@steptoe.com
                                         Email: lmetreveli@steptoe.com

                                         David Hirsch
                                         STEPTOE & JOHNSON LLP
                                         1114 6th Avenue
                                         New York, NY 10036
                                         Tel: (212) 506-3900
                                         Email: dhirsch@steptoe.com

                                         Attorneys for Plaintiffs

                                         JEAN E. WILLIAMS
                                         Acting Assistant Attorney General
                                         U.S. Department of Justice
                                         Environment & Natural Resources Division

                                         /s/ Tyler M. Alexander (permission via email)
                                         TYLER M. ALEXANDER
                                         Trial Attorney
                                         Natural Resources Section
                                         P.O. Box 7611
                                         Washington, D.C. 20044-7611
                                         Tel: (202) 305-0238
                                         tyler.alexander@usdoj.gov

                                         Attorney for Defendants




                                            2
         Case 1:20-cv-03478-CRC Document 44 Filed 11/08/21 Page 3 of 3




                               CERTIFICATE OF SERVICE

       This is to certify that on the 8th day of November, 2021, the foregoing was electronically

filed with the Clerk of Court using the Court's CM/ECF system.


                                            /s/ Stewart A. Baker
                                            Stewart A. Baker
